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 5

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   United States of America
 7

 8                                IN THE UNITED STATES DISTRICT COURT
                                     EASTERN DISTRICT OF CALIFORNIA
 9

10   UNITED STATES OF AMERICA,                            CASE NO. 2:16-CR-241 KJM

11                                 Plaintiff,

12                           v.

13   MONICA MORALES,                                      STIPULATION AND [PROPOSED] PROTECTIVE
     aka Monica Merlin Morales,                           ORDER RE: DISSEMINATION OF DISCOVERY
14                                                        DOCUMENTS CONTAINING NAMES AND
                                                          PERSONAL IDENTIFYING INFORMATION
15                                 Defendant.

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18          Pursuant to Fed. R. Crim. P. 16(d), the undersigned parties in this case, United States v. Foster,

19 et al., 2:16-cr-241 KJM stipulate and agree, and respectfully request that the Court order that:

20          1.      The United States shall turn over discovery containing personal identifying information

21 of third parties in this case subject to this stipulation and associated protective order.

22          2.      Certain documents in the government’s discovery production contain names and personal

23 identifying information of the victim and other individuals in this case (hereinafter, the “Protected

24 Material”). Such personal identifying information includes, but is not limited to, street addresses,

25 telephone numbers, drivers’ license numbers, social security numbers, dates of birth, medical

26 information, and any other alphanumeric identifiers attributed to any person. Any pages of discovery

27 that contain no personal identifying information are not subject to this order.

28          3.      The Protected Material is now and will forever remain the property of the United States.

       STIPULATION AND [PROPOSED] PROTECTIVE ORDER
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 1 The Protected Material is entrusted to counsel for defendant only for purposes of representation in this

 2 case.

 3          4.      Counsel for defendant shall not give Protected Material or any copy of Protected Material

 4 to any person other than counsel’s staff, investigator, or retained expert(s). The terms “staff,”

 5 “investigator,” and “expert” shall not be construed to describe defendant or other person not either

 6 regularly employed by counsel or a licensed investigator or expert hired in this case.

 7          5.      Any person receiving Protected Material or a copy of Protected Material from counsel for

 8 the defendant shall be bound by the same obligations as counsel and further may not give the Protected

 9 Material to anyone (except that the Protected Material shall be returned to counsel).

10          6.      Counsel shall maintain a list of persons to whom any Protected Material, or copies

11 thereof, have been given. Such persons shall be shown a copy of this Stipulation and Order and shall

12 sign a copy of the Stipulation and Order and note that they understand its terms and agree to them.

13          7.      The defendant in this case may review the Protected Material and be aware of its

14 contents, but shall not be given control of the Protected Material or any copies thereof.

15          8.      The foregoing notwithstanding, after the Trial Confirmation Hearing in this case, counsel,

16 staff, and investigator for defendant who has confirmed for trial may make copies of the Protected

17 Material for trial preparation and presentation. Any copies must, however, remain in the possession of

18 counsel, staff, investigator, expert, or the Court.

19
                                                           Respectfully Submitted,
20
                                                           BENJAMIN B. WAGNER
21                                                         United States Attorney

22 DATE: March 27, 2017                                  By: /s/ Michele Beckwith
                                                           MICHELE BECKWITH
23                                                         Assistant U.S. Attorney

24

25
     DATE: March 27, 2017                                By: /s/Michael Petrik_______________________
26                                                         MICHAEL PETRIK
                                                           Attorney for Monica Merlin
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      STIPULATION AND [PROPOSED] PROTECTIVE ORDER
                                                          2
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 1                                          [PROPOSED] ORDER

 2        By agreement of the parties, and good cause appearing, IT IS SO ORDERED:

 3 DATED: March 27, 2017.

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     STIPULATION AND [PROPOSED] PROTECTIVE ORDER
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